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 4                       UNITED STATES DISTRICT COURT
 5                              DISTRICT OF NEVADA
 6                                          ***
 7   UNITED STATES OF AMERICA,                )
                                              )      2:06-CR-00291-PMP-LRL
 8                       Plaintiff,           )
                                              )
 9                                            )           ORDER
                                              )
10   vs.                                      )
                                              )
11   Lonnie Lillard,                          )
                                              )
12                                            )
                         Defendant.           )
13                                            )
14            IT IS ORDERED that Defendant Lonnie Lillard’s Motion for Alternation
15   or Amendment of Attached Order (Doc. #230), filed on June 8, 2010, is DENIED.
16

17   DATED: June 29, 2010.
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                                              PHILIP M. PRO
20                                            United States District Judge
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